 Case 8:10-cv-00693-TBM Document 225 Filed 07/17/13 Page 1 of 2 PageID 3856
              Case: 12-14582 Date Filed: 07/16/2013 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

John Ley                                                                           For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                          July 16, 2013

Sheryl L. Loesch
U.S. District Court
801 N FLORIDA AVE
TAMPA, FL 33602-3849

Appeal Number: 12-14582-AA
Case Style: City of Saint Petersburg, Flor v. Wells Fargo Bank, N.A.
District Court Docket No: 8:10-cv-00693-TBM

The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of such
order. No additional time shall be allowed for mailing."

Sincerely,

JOHN LEY, Clerk of Court

Reply to: Eleanor M. Dixon, AA/jsc
Phone #: (404) 335-6172

Enclosure(s)

                                                               DIS-4 Multi-purpose dismissal letter
 Case 8:10-cv-00693-TBM Document 225 Filed 07/17/13 Page 2 of 2 PageID 3857
              Case: 12-14582 Date Filed: 07/16/2013 Page: 1 of 1


                    IN THE UNITED STATES COURT OF APPEALS

                             FOR THE ELEVENTH CIRCUIT



                                      No. 12-14582-AA


CITY OF ST. PETERSBURG, FLORIDA,

                                                                  Plaintiff – Appellee-
                                                                  Cross Appellant,

                                              versus

WELLS FARGO BANK, N.A.,
f.k.a. Wachovia Bank, National Association,

                                                                  Defendant – Appellant-
                                                                  Cross Appellee.


                                   --------------------------
                    On Appeal from the United States District Court for the
                                 Middle District of Florida
                                   --------------------------

BEFORE: WILSON and JORDAN, Circuit Judges.

BY THE COURT:

       The parties’ “Joint Motion to Voluntarily Dismiss Appeals,” construed as a motion to

dismiss this appeal and cross-appeal with prejudice, due to settlement, with the parties to bear

their own attorney’s fees, costs, and expenses, is GRANTED.
